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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


 David Edward Cavalieri,                          )
       Plaintiff,                                 )
                                                  )
 V.                                               )            1:17cvl204(LMB/JFA)
                                                  )
 N. Preston,^ah,                                  )
        Defendants.                               )

                                    MEMORANDUM OPINION


         Before the Court is defendant Mack Bailey's Motion for Summary Judgment("Motion").

 David Edward Cavalieri ("Cavalieri" or "plaintiff'), a Virginia inmate acting pro se, has filed a

 civil rights action pursuant to 42 U.S.C. § 1983, alleging that he suffered deliberate indifference

 to his serious medical needs at Sussex II State Prison ("Sussex 11"). He has named multiple

 defendants, many of whom have not yet been served. Bailey's Motion will be granted because

 Cavalieri failed to exhaust his administrative remedies. Because that determination is fatal to

 Cavalieri's claims, all defendants will benefit from this ruling: previous orders requiring

 defendants Andrea Williams and Dr. Lonia Abbott to file motions for summary judgment will be

 vacated, no further attempts to serve the remaining defendants will be made,and the action will

 be dismissed with prejudice.

                     1. Defendant Bailey's Motion for Summary Judgment

                                    A. Cavalieri's Allegations

        In this action Cavalieri alleges that various medical providers and administrators at

 Sussex II violated his Eighth Amendment rights when they failed to provide him with pain

 medication for several hours after he underwent knee surgery on May 11, 2017, and again when

 a prescription for back pain was not renewed from August 4 to August 16, 2017. Mack Bailey

 ("Bailey") was the Assistant Warden at Sussex II when the events relevant to this lawsuit
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